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        Counsel for Trustee Vanesa Pancic

                         UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF OREGON
In re                                              Case No. 17-63572-tmb7
Robert George O’Mea,                               TRUSTEE’S RESPONSE IN OPPOSITION
                                                   TO DEBTOR’S MOTION TO SET ASIDE
                             Debtor.               OR MOTION TO COMPEL
                                                   ABANDONDMENT
                                                   Hearing Date: April 23, 2019 at 11 AM

               Vanesa Pancic, in her capacity as trustee (“Trustee”) for Estate of Robert George
O’Mea (the “Estate”) by and through her counsel, responds in opposition to Debtor’s Motion
to Set Aside Trustee’s Objections to Claimed Exemptions and Order Thereon; or in the
Alternative, Motion to Compel Trustee to Abandon Exempt Personal Property (the “Motion”)
(Doc. No. 39) and the documents filed by Robert George O’Mea (the “Debtor”) in support
thereof. The Trustee respectfully requests that the Motion be denied. The Trustee’s Objection
to Debtor’s Claimed Exemptions (the “Objection”) (Doc. No. 18) and the Order Granting the
Trustee’s Objection to Claimed Exemptions (Doc. No. 19) were appropriately entered and were
not timely challenged. Furthermore, Debtor’s scheduled personal injury settlement award (the
“Settlement Proceeds”) are property of the Estate that may provide benefit to creditors and
should not be abandoned by the Trustee. In support of her opposition, the Trustee asserts the
following:


Page 1 of 4 – TRUSTEE’S RESPONSE IN OPPOSITION TO                            LEONARD L AW GROUP LLC
              MOTION TO SET ASIDE OR ABANDON                                     1 SW Columbia, Ste. 1010
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                      Case 17-63572-tmb7        Doc 43    Filed 04/18/19
       1.      The Trustee’s Objection to exemptions was timely filed and is appropriate.
               The Objection was timely when it was filed on Monday, January 29, 2018. The
Trustee agrees that Fed. R. Bankr. P. 4003 requires that an objection to claimed exemptions be
filed “within 30 days after the meeting of creditors … or within 30 days after amended schedules
are filed, whichever is later.” Fed. R. Bankr. P. 4003(b)(1). In this case, the meeting of creditors
was held on December 29, 2017, and the 30-day objection period following the meeting of
creditors ended on Sunday, January 28, 2018. In accordance with Fed. R. Bankr. P. 9006, when
calculating a period of time under the Federal Rules of Procedure, “if the last day [of the period
of time] is a Saturday, Sunday, or legal holiday, the period continues to run until the end of the
next day that is not a Saturday, Sunday, or legal holiday.” Fed. R. Bankr. P. 9006(a)(1)(C).
Therefore, the period to object to Debtor’s claimed exemptions was extended until Monday
January 29, 2018, which is the date the Objection was filed and entered on. The Trustee’s
Objection was timely filed.
               Furthermore, the Trustee’s Objection was appropriate. The exemption under
11 U.S.C. § 522(d)(11)(D) is narrowly defined and intentionally only includes funds awarded on
account of personal bodily injury. Any amount of the Settlement Proceeds that were awarded as
compensation for general noneconomic damages, pain and suffering, property damage, or in
exchange for release of claims cannot be subject to the exemption. The Trustee’s Objection also
states this statutory limitation and is appropriate.

       2.      The Settlement Proceeds should not be abandoned, they are property of the
               Estate and are not burdensome or of inconsequential value.

               With limited exceptions, not relevant in this case, all legal and equitable interests
of a debtor become property of the bankruptcy estate upon the petition date. In re Meehan, 2014
Bankr. LEXIS (B.A.P. 9th Cir. 2014) (citing 11 U.S.C. § 541(a)(1)). Property of the estate may be
abandoned upon a motion by an interested party, after notice and a hearing, if the movant proves
by a preponderance of the evidence that the property is 1) burdensome to the estate or 2) of


Page 2 of 4 – TRUSTEE’S RESPONSE IN OPPOSITION TO                                LEONARD L AW GROUP LLC
              MOTION TO SET ASIDE OR ABANDON                                         1 SW Columbia, Ste. 1010
                                                                                       Portland, Oregon 97258
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                       Case 17-63572-tmb7          Doc 43    Filed 04/18/19
inconsequential value and benefit to the estate. 11 U.S.C. § 554 (b); In re Vu, 245 B.R. 644, 647
(B.A.P. 9th Cir. 2000). Furthermore, courts find that “an order compelling abandonment is the
exception, not the rule. Abandonment should only be compelled in order to help creditors by
assuring some benefit in the administration of each asset….” Id. (citing In re K.C. Mach. & Tool
Co., 816 F.2d 238, 245 (6th Cir. 1987)).
               In this case, the Settlement Proceeds are property of the Estate and are not
burdensome or of inconsequential value. Although the Settlement Proceeds are fully
encumbered, the Trustee may be able to negotiate with the secured creditors to reduce their liens
and provide a carve-out for the Estate. Furthermore, Debtor’s schedules are not accurate and his
claimed exemptions may not be final.
               As discussed previously in at the September 27, 3018 hearing regarding the
Trustee’s Application for Examination of Debtor Under Rule 2004 (Doc. No. 26), at the time
Debtor filed his voluntary bankruptcy petition, he was prosecuting legal malpractice claims
against is prior attorney Andrew Keeler in Clackamas County Circuit Court under Case No.
17CV01623 (the “Keeler Action”). Debtor did not schedule the Keeler Action or claim any
exemption in the same. Until Debtor files acurrate schedules, including his claimed exemptions,
the Trustee cannot make a final determination about the value of the Settlement Proceeds and
possible benefit it may provide to creditors. Abandonment of the Settlement Proceeds is not
approporate at this time.

       3.      Debtor failed to confer prior to filing his Motion and has failed to comply
               with the Court’s Order for FRBP 2004 Examination.

               Local Rule of Bankruptcy Procedure 7007-1 requires that the movant confer with
the opposing party and make a good-faith effort to resolve the dispute prior to filing. Debtor
made no effort or attempt to confer with the Trustee regarding his request to set aside the
Objection or abandonment of the Settlement Proceeds the prior to filing his Motion.




Page 3 of 4 – TRUSTEE’S RESPONSE IN OPPOSITION TO                               LEONARD L AW GROUP LLC
              MOTION TO SET ASIDE OR ABANDON                                        1 SW Columbia, Ste. 1010
                                                                                      Portland, Oregon 97258
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                       Case 17-63572-tmb7        Doc 43     Filed 04/18/19
                 Moreover, Debtor has failed to comply with the Court’s Amended Order for
FRBP 2004 Examination of Debtor (Doc. No. 37) and the Court’s instructions at the September
27, 2018 hearing regarding the same. The Trustee, through her counsel, attempted to work with
Debtor to schedule a time and a neutral location for his Rule 2004 Examination. The Trustee
scheduled several dates for the examination to be held at the Marion County Courthouse and
requested that Debtor produce documents prior to the examination. Despite these effort, Debtor
has repeatedly refused to produce documents and has cancelled the dates for the examinations,
dates which he previously agreed to. Debtor’s failure to comply with LRBP 7007-1 and the
Court’s Order for Rule 2004 Examination should be considered in light of the relief he requests
in the Motion.
                 WHEREFORE, the Trustee respectfully requests that Debtor’s Motion be denied
in full.
                 DATED: April 18, 2019.
                                               LEONARD LAW GROUP LLC

                                               By: /s/ Holly C. Hayman
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                                               Counsel for Trustee Vanesa Pancic




Page 4 of 4 – TRUSTEE’S RESPONSE IN OPPOSITION TO                            LEONARD L AW GROUP LLC
              MOTION TO SET ASIDE OR ABANDON                                     1 SW Columbia, Ste. 1010
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                       Case 17-63572-tmb7       Doc 43     Filed 04/18/19
                                   CERTIFICATE OF SERVICE

                I certify that on the date below, I caused notice of the filing of this TRUSTEE’S
  RESPONSE IN OBJECTION TO DEBTOR’S MOTION TO SET ASIDE OR
  ABANDON to be served on interested parties requesting notice through the Court’s CM/ECF
  system and upon the parties as listed below:

  Via first class mail and email   Via first class mail            Via email
  Robert George O’Mea              PRA Receivables Management      Parks Bauer Sime Winkler &
                                                                   Fernety LLP
  1050 Norway St. NE               PO Box 41021                    Attn: Michael Walker
  Salem, OR 97301                  Norfolk, VA 23541               70 Liberty Street SE, Suite 200
  Orobert4me@hotmail.com                                           Salem, OR 97301
                                                                   mwalker@pbswlaw.com
                                                                   (Courtesy Copy)



         DATED: April 18, 2019.


                                                 By: /s/ Holly C. Hayman
                                                     Holly C. Hayman, OSB 114146




Page 1 – CERTIFICATE OF SERVICE                                                 LEONARD L AW GROUP LLC
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                         Case 17-63572-tmb7       Doc 43    Filed 04/18/19
